      Case 2:15-cv-05633-JVS-PLA Document 260 Filed 11/17/21 Page 1 of 2 Page ID #:8880
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                    of California, Central District                           on the following
      ✔ Trademarks or
      G                       G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
CV15-5633-JVS (PLA)                        7/24/2015                                         of California, Central District
PLAINTIFF                                                                    DEFENDANT
 DAVID HAKIM, an individual; SAN JULIAN DISCOUNT                               MURANO, INC., a California Corporation, a/k/a URBAN
 MART, INC., et. al.                                                           MALL; et. al.


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 86/536,155                               2/16/2015                   MURANO HOME FURNISHING

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill    G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT

 Minutes (In Chambers) Order Vacating All Dates and Removing Action from Active Caseload. Made JS-6. Case
 terminated.



CLERK                                                        (BY) DEPUTY CLERK                                          DATE
    Kiry K. Gray                                                  Evelyn Synagogue                                          11/17/2021

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
     Case 2:15-cv-05633-JVS-PLA Document 143
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                                                                      2 Page ID #:5630
                                                                                #:8881


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                              CIVIL MINUTES - GENERAL
     Case No.          CV 15-05633 JVS (PLAx)                                                Date     January 18, 2017

     Title             David Hakim, et al. v. Murano, Inc., et al.


     Present: The Honorable           James V. Selna
                             Karla J. Tunis                                                Not Present
                             Deputy Clerk                                                 Court Reporter
                    Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              Not Present                                                  Not Present
     Proceedings:           (IN CHAMBERS)
                            Order Vacating All Dates and Removing Action from Active Caseload


              On December 19, 2016, the Court conducted and vacated the initial pretrial trial
conference and the trial because the case was not prepared to proceed. The Court directed that a
joint proposed pretrial conference order be filed by January 17, 2017. (Docket No. 139.) The
Court also directed that “a declaration from counsel regarding compliance with their obligation for
pretrial preparations under the Local Rules” be filed by the same date. (Id.)

              The parties have failed to file a proposed pretrial conference order. Counsel have not
filed the required declarations.

                All dates are vacated. The case is ordered off the civil active list.




                                                                                                              :     00

                                                                   Initials of Preparer         kjt




    CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                         Page 1 of 1
